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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                              Chapter 11

    Hartman SPE, LLC,1                                  Case No. 23-11452 (MFW)

                         Debtor.                        Related Docket Nos. 790, 803, 804, 805, 806, 824, and 827



                  OMNIBUS ORDER GRANTING FINAL FEE APPLICATIONS

             Upon consideration of the final applications for compensation and reimbursement of

expenses (collectively, the “Fee Applications”) of the professionals employed in the Chapter 11

Case of debtor and debtor in possession Hartman SPE, LLC (the “Debtor”) listed on Exhibit A

attached hereto (each a “Professional”); and the Court having found that it has jurisdiction over

this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference

from the United States District Court for the District of Delaware, dated February 29, 2012; and

the Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the

Court having found that venue of this proceeding and the Fee Applications in this district are proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and the Professionals having provided appropriate notice

of the Fee Applications; and the Court having reviewed the Fee Applications; and after due

deliberation and sufficient cause appearing therefor;




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      The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s federal tax identification number,
      is Hartman SPE, LLC (7400). The Debtor’s principal place of business and service address is 2909 Hillcroft,
      Suite 420, Houston, TX 77057. Copies of pleadings may be obtained from the website of the United States
      Bankruptcy Court for the District of Delaware www.deb.uscourts.gov or from the Debtor’s Claim Agent’s website
      https://dm.epiq11.com/HartmanSPE.
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     IT IS HEREBY ORDERED THAT:

          1.           The Fee Applications are APPROVED in the amounts set forth on Exhibit A.

          2.           The Professionals are granted, on a final basis, allowance of compensation and

reimbursement of expenses in the amounts set forth on Exhibit A.

          3.           The Debtor is authorized and directed, as provided herein, to remit, or cause to be

remitted, payment in the amounts set forth on Exhibit A, less any and all amounts previously paid

on account of such fees and expenses.

          4.           This Order shall be deemed a separate order for each Professional, and the appeal

of any order with respect to any Professional shall have no effect on the authorized fees and

expenses of any other Professional.

          5.           The Court retains jurisdiction with respect to all matters arising from or related to

the interpretation or implementation of this Order.




Dated: May 20th, 2024                                      MARY F. WALRATH
Wilmington, Delaware                                       UNITED STATES BANKRUPTCY JUDGE


4874-1709-2030, v. 2
